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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      )
   -vs-                                       )       Criminal No. 18-292
                                              )
ROBERT BOWERS,                                )
                                              )
      Defendant.                              )

AMBROSE, Senior District Judge.




                                 ORDER OF COURT

      And Now, this 25th day of February, 2020, the Court has considered the

Defendant’s Motion for Bill of Particulars, the Government’s Response, and the

Defendant’s Reply. See ECF Docket Nos. 152, 175, 187. In light of applicable

standards, the Government’s filings are sufficient. See USA v. Urban, 404 F.3d 754 (3d

Cir. 2005). The Motion is DENIED.

                                              BY THE COURT:

                                              /s/ Donetta W. Ambrose
                                              Donetta W. Ambrose
                                              United States Senior District Judge
